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 14
                                UNITED STATES DISTRICT COURT
 15
                           CENTRAL DISTRICT OF CALIFORNIA
 16
                                     WESTERN DIVISION
 17

 18   AMERICAN INTERNATIONAL                     Case No. 2:21-cv-03888-RGK-KKx
      INDUSTRIES, a California General
 19   Partnership,
                                                 Hon. R. Gary Klausner
 20                Plaintiff,
                          v.                     STIPULATED PROTECTIVE
 21                                              ORDER
 22   BRENNTAG SPECIALTIES, INC.,
      now known as BRENNTAG
 23   SPECIALTIES, LLC, a Delaware
      Limited Liability Corporation, et al.,
 24
                   Defendants.
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                                    STIPULATED PROTECTIVE ORDER
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  1   1.    A.     PURPOSES AND LIMITATIONS
  2         Disclosure and discovery activity in this action are likely to involve production
  3   of confidential, proprietary, or private information for which special protection from
  4   public disclosure and from use for any purpose other than prosecuting this litigation
  5   may be warranted. Accordingly, the parties hereby stipulate to and petition the Court
  6   to enter the following Stipulated Protective Order. The parties acknowledge that this
  7   Order does not confer blanket protections on all disclosures or responses to discovery
  8   and that the protection it affords from public disclosure and use extends only to the
  9   limited information or items that are entitled to confidential treatment under the
 10   applicable legal principles. The parties further acknowledge, as set forth in Section
 11   12.3, below, that this Stipulated Protective Order does not entitle them to file
 12   confidential information under seal; Civil Local Rule 79-5 sets forth the procedures
 13   that must be followed and the standards that will be applied when a party seeks
 14   permission from the court to file material under seal.
 15         B.     GOOD CAUSE STATEMENT
 16         This action is likely to involve trade secrets, customer and pricing lists, and
 17   other valuable research, development, commercial, financial, technical and/or
 18   proprietary information for which special protection from public disclosure and from
 19   use for any purpose other than prosecution of this action is warranted. Such
 20   confidential and proprietary materials and information consist of, among other things,
 21   confidential business or financial information, information regarding confidential
 22   business practices, or other confidential research, development, or commercial
 23   information (including information implicating privacy rights of third parties),
 24   information otherwise generally unavailable to the public, or which may be privileged
 25   or otherwise protected from disclosure under state or federal statutes, court rules, case
 26   decisions, or common law. Accordingly, to expedite the flow of information, to
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 28                                STIPULATED PROTECTIVE ORDER
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  1   facilitate the prompt resolution of disputes over confidentiality of discovery materials,
  2   to adequately protect information the parties are entitled to keep confidential, to
  3   ensure that the parties are permitted reasonable necessary uses of such material in
  4   preparation for and in the conduct of trial, to address their handling at the end of the
  5   litigation, and serve the ends of justice, a protective order for such information is
  6   justified in this matter. It is the intent of the parties that information will not be
  7   designated as confidential for tactical reasons and that nothing be so designated
  8   without a good faith belief that it has been maintained in a confidential, non-public
  9   manner, and there is good cause why it should not be part of the public record of this
 10   case.
 11   2.      DEFINITIONS
 12           2.1   Action: this pending federal lawsuit.
 13           2.2   Challenging Party: a Party or Non-Party that challenges the designation
 14   of information or items under this Order.
 15           2.3   “CONFIDENTIAL” Information or Items: information (regardless of
 16   how it is generated, stored, or maintained) or tangible things that qualify for
 17   protection under Federal Rule of Civil Procedure 26(c), and as specified above in the
 18   Good Cause Statement.
 19           2.4   Counsel (without qualifier): Outside Counsel of Record and House
 20   Counsel (as well as their support staff).
 21           2.5   Designating Party: a Party or Non-Party that designates information or
 22   items that it produces in disclosures or in responses to discovery as
 23   “CONFIDENTIAL.”
 24           2.6   Disclosure or Discovery Material: all items or information, regardless of
 25   the medium or manner in which it is generated, stored, or maintained (including,
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 28                                  STIPULATED PROTECTIVE ORDER
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  1   among other things, testimony, transcripts, and tangible things), that are produced or
  2   generated in disclosures or responses to discovery in this matter.
  3         2.7    Expert: a person with specialized knowledge or experience in a matter
  4   pertinent to the litigation who has been retained by a Party or its counsel to serve as
  5   an expert witness or as a consultant in this Action.
  6         2.8    House Counsel: attorneys who are employees of a party to this Action.
  7   House Counsel does not include Outside Counsel of Record or any other outside
  8   counsel.
  9         2.9    Non-Party: any natural person, partnership, corporation, association, or
 10   other legal entity not named as a Party to this action.
 11         2.10 Outside Counsel of Record: attorneys who are not employees of a party
 12   to this Action but are retained to represent or advise a party to this Action and have
 13   appeared in this Action on behalf of that party or are affiliated with a law firm which
 14   has appeared on behalf of that party, and includes support staff.
 15         2.11 Party: any party to this Action, including all of its officers, directors,
 16   employees, consultants, retained experts, and Outside Counsel of Record (and their
 17   support staffs).
 18         2.12 Producing Party: a Party or Non-Party that produces Disclosure or
 19   Discovery Material in this Action.
 20         2.13 Professional Vendors: persons or entities that provide litigation support
 21   services (e.g., photocopying, videotaping, translating, preparing exhibits or
 22   demonstrations, and organizing, storing, or retrieving data in any form or medium)
 23   and their employees and subcontractors.
 24         2.14 Protected Material: any Disclosure or Discovery Material that is
 25   designated as “CONFIDENTIAL.”
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 28                                 STIPULATED PROTECTIVE ORDER
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  1         2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
  2   from a Producing Party.
  3   3.    SCOPE
  4         The protections conferred by this Stipulation and Order cover not only
  5   Protected Material (as defined above), but also (1) any information copied or
  6   extracted from Protected Material; (2) all copies, excerpts, summaries, or
  7   compilations of Protected Material; and (3) any testimony, conversations, or
  8   presentations by Parties or their Counsel that might reveal Protected Material.
  9   However, the protections conferred by this Stipulation and Order do not cover the
 10   following information: (a) any information that is in the public domain at the time of
 11   disclosure to a Receiving Party or becomes part of the public domain after its
 12   disclosure to a Receiving Party as a result of publication not involving a violation of
 13   this Order, including becoming part of the public record through trial or otherwise;
 14   and (b) any information known to the Receiving Party prior to the disclosure or
 15   obtained by the Receiving Party after the disclosure from a source who obtained the
 16   information lawfully and under no obligation of confidentiality to the Designating
 17   Party. Any use of Protected Material at trial shall be governed by the orders of the
 18   trial judge. This Order does not govern the use of Protected Material at trial.
 19   4.    DURATION
 20         Even after final disposition of this litigation, the confidentiality obligations
 21   imposed by this Order shall remain in effect until a Designating Party agrees
 22   otherwise in writing or a court order otherwise directs. Final disposition shall be
 23   deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
 24   or without prejudice; and (2) final judgment herein after the completion and
 25   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
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 28                                STIPULATED PROTECTIVE ORDER
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  1   including the time limits for filing any motions or applications for extension of time
  2   pursuant to applicable law.
  3   5.    DESIGNATING PROTECTED MATERIAL
  4         5.1    Exercise of Restraint and Care in Designating Material for Protection.
  5   Each Party or Non-Party that designates information or items for protection under this
  6   Order must take care to limit any such designation to specific material that qualifies
  7   under the appropriate standards. To the extent it is practical to do so, the Designating
  8   Party must designate for protection only those parts of material, documents, items, or
  9   oral or written communications that qualify – so that other portions of the material,
 10   documents, items, or communications for which protection is not warranted are not
 11   swept unjustifiably within the ambit of this Order.
 12         Mass, indiscriminate, or routinized designations are prohibited. Designations
 13   that are shown to be clearly unjustified or that have been made for an improper
 14   purpose (e.g., to unnecessarily encumber or retard the case development process or to
 15   impose unnecessary expenses and burdens on other parties) may expose the
 16   Designating Party to sanctions.
 17         If it comes to a Designating Party’s attention that information or items that it
 18   designated for protection do not qualify for protection, that Designating Party must
 19   promptly notify all other Parties that it is withdrawing the inapplicable designation.
 20         5.2    Manner and Timing of Designations. Except as otherwise provided in
 21   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
 22   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
 23   under this Order must be clearly so designated before the material is disclosed or
 24   produced.
 25         Designation in conformity with this Order requires:
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 28                                 STIPULATED PROTECTIVE ORDER
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  1                (a) for information in documentary form (e.g., paper or electronic
  2   documents, but excluding transcripts of depositions or other pretrial or trial
  3   proceedings), that the Producing Party affix, at a minimum, the legend
  4   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”) to each page that
  5   contains protected material. If only a portion or portions of the material on a page
  6   qualifies for protection, the Producing Party also must clearly identify the protected
  7   portion(s) (e.g., by making appropriate markings in the margins).
  8         A Party or Non-Party that makes original documents available for inspection
  9   need not designate them for protection until after the inspecting Party has indicated
 10   which documents it would like copied and produced. During the inspection and
 11   before the designation, all of the material made available for inspection shall be
 12   deemed “CONFIDENTIAL.” After the inspecting Party has identified the documents
 13   it wants copied and produced, the Producing Party must determine which documents,
 14   or portions thereof, qualify for protection under this Order. Then, before producing
 15   the specified documents, the Producing Party must affix the CONFIDENTIAL legend
 16   to each page that contains Protected Material. If only a portion or portions of the
 17   material on a page qualifies for protection, the Producing Party also must clearly
 18   identify the protected portion(s) (e.g., by making appropriate markings in the
 19   margins).
 20                (b) for testimony given in deposition or in other pretrial proceedings, that
 21   the Designating Party identify on the record, before the close of the deposition,
 22   hearing, or other proceeding, all protected testimony. When it is impractical to
 23   identify separately each portion of testimony that is entitled to protection and it
 24   appears that substantial portions of the testimony may qualify for protection, the
 25   Designating Party may invoke on the record (before the deposition, hearing, or other
 26   proceeding is concluded) a right to have up to 21 days to identify the specific portions
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 28                                 STIPULATED PROTECTIVE ORDER
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  1   of the testimony as to which protection is sought. Only those portions of the
  2   testimony that are appropriately designated for protection within the 21 days shall be
  3   covered by the provisions of this Stipulated Protective Order. Alternatively, a
  4   Designating Party may specify, at the deposition or up to 21 days afterwards if that
  5   period is properly invoked, that the entire transcript shall be treated as
  6   “CONFIDENTIAL.”
  7         Parties shall give the other parties notice if they reasonably expect a deposition,
  8   hearing, or other proceeding to include Protected Material so that the other parties can
  9   ensure that only authorized individuals who have signed the “Acknowledgment and
 10   Agreement to Be Bound” (Exhibit A) are present at those proceedings. The use of a
 11   document as an exhibit at a deposition shall not in any way affect its designation as
 12   “CONFIDENTIAL.”
 13         Transcripts containing Protected Material shall have an obvious legend on the
 14   title page that the transcript contains Protected Material, and the title page shall be
 15   followed by a list of all pages (including line numbers as appropriate) that have been
 16   designated as Protected Material. The Designating Party shall inform the court
 17   reporter of these requirements. Any transcript that is prepared before the expiration
 18   of a 21-day period for designation shall be treated during that period as if it had been
 19   designated “CONFIDENTIAL” in its entirety unless otherwise agreed. After the
 20   expiration of that period, the transcript shall be treated only as actually designated.
 21                (c) for information produced in some form other than documentary and
 22   for any other tangible items, that the Producing Party affix in a prominent place on
 23   the exterior of the container or containers in which the information or item is stored
 24   the legend “CONFIDENTIAL.” If only a portion or portions of the information or
 25   item warrant protection, the Producing Party, to the extent practicable, shall identify
 26   the protected portion(s).
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 28                                 STIPULATED PROTECTIVE ORDER
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  1         5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent
  2   failure to designate qualified information or items does not, standing alone, waive the
  3   Designating Party’s right to secure protection under this Order for such material.
  4   Upon timely correction of a designation, the Receiving Party must make reasonable
  5   efforts to assure that the material is treated in accordance with the provisions of this
  6   Order.
  7   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
  8         6.1    Timing of Challenges. Any Party or Non-Party may challenge a
  9   designation of confidentiality at any time that is consistent with the Court’s
 10   Scheduling Order.
 11         6.2    Meet and Confer. The Challenging Party shall initiate the dispute
 12   resolution process under Local Rule 37.1 et seq.
 13         6.3    The burden of persuasion in any such challenge proceeding shall be on
 14   the Designating Party. Frivolous challenges and those made for an improper purpose
 15   (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
 16   expose the Challenging Party to sanctions. Unless the Designating Party has waived
 17   or withdrawn the confidentiality designation, all parties shall continue to afford the
 18   material in question the level of protection to which it is entitled under the
 19   Designating Party’s designation until the Court rules on the challenge.
 20   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
 21         7.1    Basic Principles. A Receiving Party may use Protected Material that is
 22   disclosed or produced by another Party or by a Non-Party in connection with this
 23   Action only for prosecuting, defending, or attempting to settle this Action. Such
 24   Protected Material may be disclosed only to the categories of persons and under the
 25   conditions described in this Order. When the Action has been terminated, a
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 28                                 STIPULATED PROTECTIVE ORDER
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   1   Receiving Party must comply with the provisions of section 13 below (FINAL
   2   DISPOSITION).
   3         Protected Material must be stored and maintained by a Receiving Party at a
   4   location and in a secure manner that ensures that access is limited to the persons
   5   authorized under this Order.
   6         7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
   7   otherwise ordered by the court or permitted in writing by the Designating Party, a
   8   Receiving Party may disclose any information or item designated
   9   “CONFIDENTIAL” only to:
  10                (a)   the Receiving Party’s Outside Counsel of Record in this Action, as
  11   well as employees of said Outside Counsel of Record to whom it is reasonably
  12   necessary to disclose the information for this Action;
  13                (b)   the officers, directors, and employees (including House Counsel)
  14   of the Receiving Party to whom disclosure is reasonably necessary for this Action;
  15                (c)   Experts (as defined in this Order) of the Receiving Party to whom
  16   disclosure is reasonably necessary for this Action and who have signed the
  17   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  18                (d)   the court and its personnel;
  19                (e)   court reporters and their staff;
  20                (f)   professional jury or trial consultants, mock jurors, and
  21   Professional Vendors to whom disclosure is reasonably necessary for this Action and
  22   who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  23                (g)   the author or recipient of a document containing the information
  24   or a custodian or other person who otherwise possessed or knew the information;
  25                (h)   during their depositions, witnesses and attorneys for witnesses in
  26   the Action to whom disclosure is reasonably necessary and who have signed the
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 28                                   STIPULATED PROTECTIVE ORDER
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   1   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
   2   agreed by the Designating Party or ordered by the court. Pages of transcribed
   3   deposition testimony or exhibits to depositions that reveal Protected Material must be
   4   separately bound by the court reporter and may not be disclosed to anyone except as
   5   permitted under this Stipulated Protective Order;
   6                (i)    any mediator or settlement officer, and their supporting personnel,
   7   mutually agreed upon by the Parties; and
   8                (j)    any person who the Parties agree in writing may receive
   9   “CONFIDENTIAL” Information or Items.
  10   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
  11         OTHER LITIGATION
  12         If a Party is served with a subpoena or a court order issued in other litigation
  13   that compels disclosure of any information or items designated in this Action as
  14   “CONFIDENTIAL,” that Party must:
  15                (a)    promptly notify in writing the Designating Party. Such
  16   notification shall include a copy of the subpoena or court order;
  17                (b)    promptly notify in writing the party who caused the subpoena or
  18   order to issue in the other litigation that some or all of the material covered by the
  19   subpoena or order is subject to this Protective Order. Such notification shall include a
  20   copy of this Stipulated Protective Order; and
  21                (c)    cooperate with respect to all reasonable procedures sought to be
  22   pursued by the Designating Party whose Protected Material may be affected.
  23         If the Designating Party timely seeks a protective order, the Party served with
  24   the subpoena or court order shall not produce any information designated in this
  25   action as “CONFIDENTIAL” before a determination by the court from which the
  26   subpoena or order issued, unless the Party has obtained the Designating Party’s
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 28                                  STIPULATED PROTECTIVE ORDER
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   1   permission. The Designating Party shall bear the burden and expense of seeking
   2   protection in that court of its confidential material – and nothing in these provisions
   3   should be construed as authorizing or encouraging a Receiving Party in this Action to
   4   disobey a lawful directive from another court.
   5   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
   6         PRODUCED IN THIS LITIGATION
   7         (a)    The terms of this Order are applicable to information produced by a
   8   Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
   9   produced by Non-Parties in connection with this litigation is protected by the
  10   remedies and relief provided by this Order. Nothing in these provisions should be
  11   construed as prohibiting a Non-Party from seeking additional protections.
  12         (b)    In the event that a Party is required, by a valid discovery request, to
  13   produce a Non-Party’s confidential information in its possession, and the Party is
  14   subject to an agreement with the Non-Party not to produce the Non-Party’s
  15   confidential information, then the Party shall:
  16                (1)    promptly notify in writing the Requesting Party and the Non-Party
  17   that some or all of the information requested is subject to a confidentiality agreement
  18   with a Non-Party;
  19                (2)    promptly provide the Non-Party with a copy of the Stipulated
  20   Protective Order in this Action, the relevant discovery request(s), and a reasonably
  21   specific description of the information requested; and
  22                (3)    make the information requested available for inspection by the
  23   Non-Party, if requested.
  24         (c)    If the Non-Party fails to seek a protective order from this court within 14
  25   days of receiving the notice and accompanying information, the Receiving Party may
  26   produce the Non-Party’s confidential information responsive to the discovery request.
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 28                                 STIPULATED PROTECTIVE ORDER
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   1   If the Non-Party timely seeks a protective order, the Receiving Party shall not
   2   produce any information in its possession or control that is subject to the
   3   confidentiality agreement with the Non-Party before a determination by the court.
   4   Absent a court order to the contrary, the Non-Party shall bear the burden and expense
   5   of seeking protection in this court of its Protected Material.
   6   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
   7         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
   8   Protected Material to any person or in any circumstance not authorized under this
   9   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
  10   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
  11   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
  12   persons to whom unauthorized disclosures were made of all the terms of this Order,
  13   and (d) request such person or persons to execute the “Acknowledgment and
  14   Agreement to Be Bound” that is attached hereto as Exhibit A.
  15   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
  16         PROTECTED MATERIAL
  17         When a Producing Party gives notice to Receiving Parties that certain
  18   inadvertently produced material is subject to a claim of privilege or other protection,
  19   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
  20   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
  21   may be established in an e-discovery order that provides for production without prior
  22   privilege review.
  23   12.   MISCELLANEOUS
  24         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
  25   person to seek its modification by the Court in the future.
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 28                                  STIPULATED PROTECTIVE ORDER
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   1         12.2 Right to Assert Other Objections. By stipulating to the entry of this
   2   Protective Order no Party waives any right it otherwise would have to object to
   3   disclosing or producing any information or item on any ground not addressed in this
   4   Stipulated Protective Order. Similarly, no Party waives any right to object on any
   5   ground to use in evidence of any of the material covered by this Protective Order.
   6         12.3 Filing Protected Material. A Party may not file in the public record in
   7   this Action any Protected Material without first receiving either written permission
   8   from the Designating Party or a court order secured after appropriate notice to all
   9   interested persons. A Party that seeks to file under seal any Protected Material must
  10   comply with Civil Local Rule 79-5. Protected Material may only be filed under seal
  11   pursuant to a court order authorizing the sealing of the specific Protected Material at
  12   issue. Pursuant to Civil Local Rule 79-5, a sealing order will issue only upon a
  13   request establishing that the Protected Material at issue is privileged, protectable as a
  14   trade secret, or otherwise entitled to protection under the law. If a Receiving Party’s
  15   request to file Protected Material under seal pursuant to Civil Local Rule 79-5.2.2(b)
  16   is denied by the court, then the Receiving Party may file the Protected Material in the
  17   public record pursuant to Civil Local Rule 79-5.2.2(b)(ii) unless otherwise instructed
  18   by the court.
  19   13.   FINAL DISPOSITION
  20         Within 60 days after the final disposition of this Action, as defined in
  21   Section 4, each Receiving Party must return all Protected Material to the Producing
  22   Party or destroy such material. As used in this subdivision, “all Protected Material”
  23   includes all copies, abstracts, compilations, summaries, and any other format
  24   reproducing or capturing any of the Protected Material. Whether the Protected
  25   Material is returned or destroyed, the Receiving Party must submit a written
  26   certification to the Producing Party (and, if not the same person or entity, to the
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                                                 - 13 -
 28                                  STIPULATED PROTECTIVE ORDER
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   1   Designating Party) by the 60-day deadline that (1) identifies (by category, where
   2   appropriate) all the Protected Material that was returned or destroyed and (2) affirms
   3   that the Receiving Party has not retained any copies, abstracts, compilations,
   4   summaries or any other format reproducing or capturing any of the Protected
   5   Material. Notwithstanding this provision, Counsel are entitled to retain an archival
   6   copy of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal
   7   memoranda, correspondence, deposition and trial exhibits, expert reports, attorney
   8   work product, and consultant and expert work product, even if such materials contain
   9   Protected Material. Any such archival copies that contain or constitute Protected
  10   Material remain subject to this Protective Order as set forth in Section 4
  11   (DURATION).
  12   14.   Any violation of this Order may be punished by any and all appropriate
  13   measures including, without limitation, contempt proceedings and/or monetary
  14   sanctions.
  15   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
  16

  17   Dated: October 15, 2021                 LATHROP GPM LLP
  18
                                        By:    /s/ Alexandra A. Roje
  19                                           Alexandra A. Roje
                                               Attorneys for Plaintiff
  20
                                               AMERICAN INTERNATIONAL
  21                                           INDUSTRIES
  22
       Dated: October 15, 2021                 MILLER NASH LLP
  23

  24                                    By:    /s/ Phillip Allan Trajan Perez
                                               Phillip Allan Trajan Perez
  25                                           Attorneys for Defendant
  26                                           BRENNTAG SPECIALTIES, INC., now
                                               known as BRENNTAG SPECIALTIES, LLC
  27
                                                 - 14 -
 28                                  STIPULATED PROTECTIVE ORDER
Case 2:21-cv-03888-RGK-KK Document 36 Filed 10/18/21 Page 16 of 17 Page ID #:678




   1
       Dated: October 15, 2021                 MONTGOMERY MCCRACKEN WALKER
   2
                                               & RHOADS LLP
   3
                                        By:    /s/ Richard Placey
   4                                           Richard Placey
   5                                           Georgette Castner
                                               Attorneys for Defendant
   6                                           BRENNTAG SPECIALTIES, INC., now
   7                                           known as BRENNTAG SPECIALTIES, LLC

   8

   9   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.

  10
       DATED: October 18, 2021
  11

  12
       ____________________________________
  13
       Honorable Kenly Kiya Kato
  14
       United States Magistrate Judge
  15

  16

  17
             Pursuant to Local Rule 5-4.3.4(a)(2)(i), the filer attests that all other signatories
  18
       listed, and on whose behalf the filing is submitted, concur in the filing’s content and
  19
       have authorized the filing.
  20

  21
       Dated: October 15, 2021                 /s/ Alexandra A. Roje
  22
                                               Alexandra A. Roje
  23

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  25

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                                                 - 15 -
 28                                  STIPULATED PROTECTIVE ORDER
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   1                                         EXHIBIT A
   2              ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   3         I, _____________________________ [print or type full name], of
   4   ______________________________ [print or type full address], declare under
   5   penalty of perjury that I have read in its entirety and understand the Stipulated
   6   Protective Order that was issued by the United States District Court for the Central
   7   District of California on ___________________ [date] in the case of American
   8   International Industries v. Brenntag Specialties, Inc., et al., Case No. 2:21-cv-03888-
   9   RGK-KK. I agree to comply with and to be bound by all the terms of this Stipulated
  10   Protective Order and I understand and acknowledge that failure to so comply could
  11   expose me to sanctions and punishment in the nature of contempt. I solemnly
  12   promise that I will not disclose in any manner any information or item that is subject
  13   to this Stipulated Protective Order to any person or entity except in strict compliance
  14   with the provisions of this Order.
  15         I further agree to submit to the jurisdiction of the United States District Court
  16   for the Central District of California for the purpose of enforcing the terms of this
  17   Stipulated Protective Order, even if such enforcement proceedings occur after
  18   termination of this action. I hereby appoint _____________________ [print or type
  19   full name] of _____________________________________ [print or type full address
  20   and telephone number] as my California agent for service of process in connection
  21   with this action or any proceedings related to enforcement of this Stipulated
  22   Protective Order.
  23   Date: _________________________________
  24   City and State where sworn and signed: ______________________________
  25   Printed name: _______________________________________
  26   Signature: __________________________________________
  27
                                                 - 16 -
 28                                  STIPULATED PROTECTIVE ORDER
